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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION


UNITED STATES OF AMERICA                 *
                                         *
       v.                                *         CR 119-011
                                         *
ANTHONY R. WILLIAMS                      *




                                  O R D E R



       Defendant Anthony R. Williams has moved for compassionate

release under 18 U.S.C. § 3582(c)(1)(A) based upon his serious

medical conditions and the severe adverse effect that COVID-19 may

have     upon   him     individually     given    his    medical    conditions.

Defendant’s medical conditions include Type 2 diabetes, coronary

artery       disease,     peripheral     vascular        disease,     peripheral

neuropathy, high blood pressure and high cholesterol, obstructive

sleep apnea, a hernia, and hearing loss.

       The    compassionate    release       provision   of   §    3582(c)(1)(A)

provides a narrow path for a defendant in “extraordinary and

compelling circumstances” to leave prison early.              In consideration

of a compassionate release motion, the Court is constrained to

follow the applicable policy statements issued by the United States

Sentencing Commission. See 18 U.S.C. § 3582(c)(1)(A). Application

Note 1 of the existing policy statement, U.S.S.G. § 1B1.13, lists
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three specific examples of extraordinary and compelling reasons to

consider    reduction      of   a   defendant’s    sentence     under     §

3582(c)(1)(A): (1) a serious medical condition; (2) advanced age;

and (3) family circumstances.       Id. n.1(A)-(C). 1

     Defendant’s motion only implicates the first category. 2 The

Sentencing Commission has clarified that a “serious physical or

medical condition” “substantially diminishes the ability of the

defendant   to   provide   self-care    within   the   environment   of   a

correctional facility and [is one] from which he or she is not

expected to recover.”      U.S.S.G. § 1B1.13, n.1(A)(ii).      Defendant

has not established, nor has he even argued that his medical

conditions satisfy these criteria in and of themselves.          However,

as conceded by the Government, Defendant’s diabetes and coronary

artery disease are listed by the CDC as conditions that place a

person who contracts COVID-19 at an increased risk for severe

illness.    See Centers for Disease Control, People with Certain

Medical Conditions, available at https://www.cdc.gov/coronavirus




1 The Application Note also provides a catch-all category: “As
determined by the Director of the Bureau of Prisons, there exists
in the defendant’s case an extraordinary and compelling reason
other than, or in combination with,” the aforementioned three
categories. Id. n.1(D). The Court has not been made aware that
the BOP Director has sanctioned Defendant’s early release.
2  Defendant is 60 years old; while that does not qualify him for
the age category of extraordinary and compelling circumstances, it
does play a role in consideration of the potential effects of
COVID-19.

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/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html (last visited on October 13, 2020).                      Additionally,

Defendant’s hypertension is listed as a condition that might place

a person who contracts COVID-19 at an increased risk for severe

illness. (Id.)        These conditions, together with his obstructive

sleep apnea and age, leave little doubt that Defendant’s medical

conditions,     particularly              in        the   aggregate,     qualify     his

circumstances as potentially serious enough to be extraordinary

and compelling if he contracts COVID-19. 3                     Yet, this finding is

diminished     in   part       by   the    fact       that   Defendant    has   already

contracted COVID-19 and recovered, demonstrating that the Bureau

of   Prisons    can      and     did   appropriately         and   adequately      treat

Defendant.     That is, the record shows that Defendant’s medical

conditions have not uniquely positioned him or set him apart from

other   inmates     in     the      same       correctional    facility    so   as    to

convincingly establish that he is entitled to early release.

     Moreover, even if the Court determined that Defendant is

eligible for compassionate release, the Court retains discretion

over whether to grant that relief. Indeed, the Court must consider

the sentencing factors of 18 U.S.C. § 3553(a) prior to ordering


3  The Court will not conclude that Defendant’s recent contraction
of COVID-19 disqualifies him as having a serious medical condition
because he survived it. The Court is not positioned to conclude
that he will not contract it again.       However, the Bureau of
Prison’s response thereto and Defendant’s recovery are highly
relevant to this matter.

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release.     See 18 U.S.C. § 3582(c)(1)(A).       In this case, these

factors weigh against his release.         Defendant’s offense was a

flagrant, egregious, and arrogant misuse of power for personal

gain.    Yet, because of his plea agreement, Defendant’s sentence of

five years falls substantially below the sentencing guideline

range to which he could have been subject for the charged conduct.

Defendant was sentencing just over one year ago, and he still has

well over half of his sentence to serve.          If the Court were to

release Defendant early, the sentence would fail to reflect the

seriousness of the offense, promote respect for the law, provide

just punishment, or afford adequate deterrence.         Thus, the Court

would not exercise its discretion to release Defendant even if he

qualified for release under the compassionate release provision.

        Upon the foregoing, Defendant Anthony R. Williams’s motion

for compassionate release (doc. no. 43) is hereby DENIED.

        ORDER ENTERED at Augusta, Georgia, this 19th day of October,

2020.




                                       ____________________________
                                       UNITED STATES DISTRICT JUDGE




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